OPINION — AG — VACATION LEAVE TAKEN AT THE END OF AN EMPLOYEE'S EMPLOYMENT DOES NOT ADVANCE THE TERMINATION DATE OF HIS EMPLOYMENT SINCE THE LAST DAY ACTUALLY WORKED ON THE JOB IS NOT THE LAST DAY OF THE EMPLOYMENT STATUS. THE DATE OF EMPLOYMENT TERMINATION FOR RETIREMENT PURPOSES WOULD BE THE LAST DAY OF VACATION LEAVE EVEN THOUGH COMPENSATION FOR SUCH MAY HAVE BEEN PAID IN ADVANCE THEREOF. WE EXPRESS NO OPINION REGARDING THE PRACTICE OF ADVANCED PAYMENT OF ACCRUED VACATION LEAVE DESCRIBED HEREIN. (PENN LERBLANCE) ** SEE: OPINION NO. 71-110 (1971) ** ** OVERRULED BY OPINION NO. 70-242 (1970) **